     Case 2:85-cv-04544-DMG-AGR Document 120-2 Filed 02/27/15 Page 1 of 3 Page ID
                                     #:1847



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     JENNY LISETTE FLORES; et al.,                       Case No. CV 85-4544-DMG
18
                                                         [Proposed]
             Plaintiffs,
19                                                       ORDER MODIFYING SETTLEMENT
                  v.                                     AGREEMENT
20
21   ERIC H. HOLDER, JR., Attorney General of
     the United States; et al.,
22
23           Defendants.
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     Case 2:85-cv-04544-DMG-AGR Document 120-2 Filed 02/27/15 Page 2 of 3 Page ID
                                     #:1848



            THIS CAUSE comes before the Court upon the Defendants’ Protective Motion to Modify
1
2    Settlement Agreement.

3           UPON CONSIDERATION of the Motion, and for the reasons set forth in Defendants’
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     Protective Motion, the Motion is GRANTED, and the Flores Settlement Agreement, Case No.
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     85-4544, January 28, 1997 (“Agreement”) is hereby modified to reflect the following changes:
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7       1. The Agreement is modified to eliminate any portions of the Agreement that are

8           superseded by, or inconsistent with, the Homeland Security Act of 2002, Pub. L. No.
9           107-296, as amended, or the William Wilberforce Trafficking Victims Protection
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            Reauthorization Act of 2008, Pub. L. No. 110-457, § 235 (codified in principal part at 8
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            U.S.C. § 1232), as amended. Consistent with those changes in the law, the Agreement is
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13          amended to eliminate references to the Immigration and Naturalization Service or its

14          officers and agents, and to replace each such reference with a reference to the department
15          or department component that now performs the designated function or role under current
16
            law.
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        2. Section VI of the Agreement is modified to clarify that the “General Policy Favoring
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19          Release” does not apply to minors who were or will be apprehended by the Government

20          in the company of a parent or legal guardian, and are now being or will be held with that
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            parent or legal guardian in a U.S. Immigration and Customs Enforcement (“ICE”) family
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            residential center.
23
        3. Section VII of the Agreement is modified to clarify that the state licensure requirement in
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25          that section does not apply to ICE family residential facilities. The Section is further

26          modified to clarify that the provisions of that Section, and in Exhibit 1 to the Agreement,
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            related to the conditions of detention, do apply to ICE family residential facilities, along
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     Case 2:85-cv-04544-DMG-AGR Document 120-2 Filed 02/27/15 Page 3 of 3 Page ID
                                     #:1849



           with    the    ICE      Family     Residential     Standards,      available   online   at:
1
2          http://www.ice.gov/detention-standards/family-residential.      In lieu of licensing, the

3          Government will be required to make these facilities available for regular inspections by
4
           the ICE Office of Professional Responsibility’s Office of Detention Oversight, the DHS
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           Office of Civil Rights and Civil Liberties, and an independent compliance inspector. The
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7          Government will also be required to provide to Plaintiffs’ counsel annual reports

8          regarding each ICE family residential facility’s compliance with the applicable standards.
9       4. Section X of the Agreement is modified to eliminate Paragraphs 29 and 30 to the extent
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           they relate to the implementation of the original Agreement. The Section is further
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           modified to add the requirement that the Government must provide Plaintiffs’ counsel
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13         with the annual reports detailed in paragraph 3 above regarding each ICE family

14         residential facility’s compliance with the applicable standards.
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           IT IS SO ORDERED.
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     DATED: _____________, 2015.
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                                                 THE HONORABLE DOLLY M. GEE
20                                               UNITED STATES DISTRICT JUDGE
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